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  UNITED STATES DISTRICT COURT                          EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                      §
                                               §
 versus                                        § CRIMINAL ACTION NO. 1:16-CR-60
                                               §
 ANNA MARIE GRISANTI (2)                       §

                                           ORDER

          Defendant ANNA MARIE GRISANTI’s motion for continuance of sentencing hearing

 (#161) is GRANTED. Defendant’s sentencing date is rescheduled to February 28, 2018, at 10:00

 a.m. No. further extensions will be granted.
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 17th day of January, 2018.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE
